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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

   Farah IBRAHIM, Ibrahim MUSA, Khalid
   Abdallah MOHMED, Ismail JIMCALE
   ABDULLAH, Abdiwali Ahmed SIYAD,
   Ismael Abdirashed MOHAMED, and
   Khadar Abdi IBRAHIM on behalf of
   themselves and all those similarly situated,             Case No.:

         Plaintiffs/Petitioners,
                                                            CLASS ACTION
   v.

   Juan ACOSTA, Assistant Field
   Officer Director, Miami Field Office,
   Immigration and Customs Enforcement;
   David HARDIN, Sheriff of Glades
   County; Marc J. MOORE, Field Office
   Director, Miami Field Office, Immigration and
   Customs Enforcement; Thomas HOMAN,
   Acting Director, Immigration and Customs
   Enforcement; Kirstjen NIELSEN,
   Secretary of Homeland Security.

         Defendants/Respondents.


       CLASS ACTION COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                AND CLASS PETITION FOR WRIT OF HABEAS CORPUS

          On    behalf   of    themselves   and       the    class   of   individuals   similarly   situated,

   Plaintiffs/Petitioners Farah Ibrahim, Ibrahim Musa, Khalid Abdallah Mohmed, Ismail Jimcale,

   Abdiwali Ahmed Siyad, Ismael Abdirashed Mohamed, and Khadar Abdi Mohamed sue

   Defendants/Respondents Juan Acosta, David Hardin, Marc J. Moore, Thomas Homan, and

   Kirstjen Nielsen, and state the following:




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                                          INTRODUCTION

          1.      Plaintiffs/Petitioners and the class they represent are 92 people who ICE subjected

   to inhumane conditions and egregious abuse during a failed attempt to deport them by plane to

   Somalia on December 7, 2017. For almost two days, the men and women sat bound and shackled

   in an ICE-chartered airplane. The plane departed Louisiana bound for Somalia, but only made it

   as far as Dakar, Senegal. The plane sat on a runway at the Dakar airport for 23 hours.

          2.      As the plane sat on the runway, the 92 detainees remained bound, their handcuffs

   secured to their waists, and their feet shackled together. When the plane’s toilets overfilled with

   human waste, some of the detainees were left to urinate into bottles or on themselves. ICE agents

   wrapped some who protested, or just stood up to ask a question, in full-body restraints. ICE

   agents kicked, struck, or dragged detainees down the aisle of the plane, and subjected some to

   verbal abuse and threats.

          3.      ICE ultimately aborted the trip and flew back to the United States, landing in

   Miami. In the early morning of Saturday, December 9th, ICE transported the still-shackled

   detainees to its two detention centers in the South Florida area. ICE has indicated it will attempt

   to fly the detainees to Somalia again this week, likely on Wednesday, December 20, 2017, but

   possibly sooner.

          4.      The ICE flight never reached Somalia, but the story of the 92 detainees did, riding

   a wave of press coverage in international news outlets from the New York Times to the BBC.

   This in turn triggered widespread reporting and speculation about the U.S. deportees in the

   Somali media. See Declaration of Abdinasir M. Abdulahi, Attached to Motion for Temporary

   Restraining Order (listing numerous links to Somali media coverage).




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          5.      The extraordinary public attention that ICE’s misconduct has drawn to the 92

   detainees matters because it is a unique circumstance that puts them in danger of being targeted

   by the anti-American, anti-Western terrorist organization, Al Shebaab. Al Shebaab is an ally of

   Al Qaeda and is waging a war against Somalia’s fragile government.

          6.      As Mary Harper, Africa Editor for BBC News, explains, Al Shabaab perceives

   Somalis who are returning to the country after periods living in western nations as enemies of

   their cause who must be summarily executed. See Declaration of Mary Harper, Attached to

   Motion for Temporary Restraining Order. Al Shabaab’s violent attacks on Somali civilians

   whom it deems enemies are helping create what the United States has declared to be “one of the

   worst humanitarian crises in the world.” 82 FR 4907 (renewing Temporary Protected Status to

   certain Somalis in the United States based on the severe level of danger).

          7.      ICE’s abusive and attention-drawing actions on the December 7 flight occurred

   just weeks after Al Shabaab’s massive bomb attack in Mogadishu on October 14, 2017. This

   terrorist attack killed over 500 people and was a transformative event widely referred to as

   “Somalia’s 9/11.” The October 14th attack prompted the United States to launch bombing raids

   against Al Shabaab inside Somalia in November.

          8.      The dramatic escalation of Al Shabaab’s terrorist violence coupled with the U.S.

   military’s retaliation are additional new circumstances that enhance the risks created by media

   coverage about ICE detainees.

          9.      Plaintiffs/Petitioners face imminent removal to Somalia, where they will likely be

   killed or harmed due to changed circumstances in Somalia created by the media coverage and

   notoriety of the aborted and abusive December 7 flight.




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           10.     U.S. law forbids the removal of individuals to countries where they would face a

   likelihood of persecution or torture. See 8 U.S.C. 1158, 1231(b)(3); 8 C.F.R. 1208.13, 1208.16.

   Plaintiffs/Petitioners are entitled to file a motion to reopen their removal proceedings, and to

   receive a decision on that motion, because they seek “[t]o apply or reapply for asylum or

   withholding of deportation based on changed circumstances arising in the country of nationality

   or in the country to which deportation has been ordered.” 8 CFR 1003.2(c)(3)(ii).

   Plaintiffs/Petitioners are also entitled to file a motion to reopen and to receive a decision on that

   motion with respect to their new claims of protection under the Convention Against Torture.

           11.     In light of recent escalating violence against Westernized Somalis returned from

   the United States, the Board of Immigration Appeals (BIA) has reopened final removal orders.

   In the unpublished decision dated December 5, 2017, In re A-A-S-, the BIA granted reopening to

   a man who was detained by ICE and was scheduled to be removed on the December 7 flight to

   Somalia. See BIA Decision in A-A-S-, Attached to Motion for Temporary Restraining Order.

           12.     Yet despite the clear danger that Plaintiffs/Petitioners and the class they represent

   now face in Somalia, ICE is attempting to deport them based on removal orders that do not take

   account of the danger created by the media coverage of the December 7 flight and recent

   escalation of violence in Somalia--facts that qualify as intervening changed circumstances which

   entitle Plaintiffs/Petitioners and the others in the class to protection.

           13.     In addition, Plaintiffs/Petitioners and the class face imminent removal without

   assurances that, this time, the Defendants/Respondents will be treated humanely and not abused

   during the flight and without having received adequate medical treatment for injuries sustained

   on the last flight.




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             14.    On the December 7 flight, ICE and U.S. government contract workers forced

   Plaintiffs/Petitioners to stay seated and chained at their wrists, ankles, and waists for the entire

   flight.

             15.    They denied Plaintiffs/Petitioners and the class movement to stretch and relieve

   swollen and numb legs and arms.

             16.    The flight lasted over 40 hours, including 23 hours while the plane was on the

   ground in Dakar, Senegal.

             17.    When the flight was in Dakar for 23 hours, ICE officers and contract guards beat,

   kicked, choked, pushed, straightjacketed, threatened to kill, and berated people on the plane. ICE

   and contract guards also denied Plaintiffs/Petitioners and the others bathroom use, forcing people

   to try to urinate in bottles or on themselves.

             18.    Plaintiffs/Petitioners and class members sustained severe and ongoing injuries as

   a result of the abuse by ICE officers and contract guards.

             19.    By restraining Plaintiffs/Petitioners, abusing them, and creating a hostile

   environment of coercion and intimidation, ICE and U.S. government contract workers terrified

   Plaintiffs/Petitioners, and the others on the plane, and forced them to go without sleep for the

   duration of the flight.

             20.    After people on the flight spoke to the U.S. news media about their mistreatment,

   ICE issued the following statement regarding the flight:

             Upon landing for a refueling and pilot exchange at Dakar, Senegal, ICE was
             notified that the relief crew was unable to get sufficient crew rest due to issues
             with their hotel in Dakar. The aircraft, including the detainees and crew on board,
             remained parked at the airport to allow the relief crew time to rest. During this
             time, the aircraft maintained power and air conditioning, and was stocked with
             sufficient food and water. Detainees were fed at regular intervals to include the
             providing of extra snacks and drinks. Lavatories were functional and serviced the
             entire duration of the trip. The allegations of ICE mistreatment onboard the

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           Somali flight are categorically false. No one was injured during the flight, and
           there were no incidents or altercations that would have caused any injuries on the
           flight.

           21.     In its statement, Defendants/Respondents falsely claim that there were “no

   incidents or altercations” or injuries and that the bathrooms “were functional and serviced the

   entire duration of the trip.”

           22.     In fact, there were numerous “incidents” and “altercations” and “injuries” on the

   trip. ICE and the contract guards injured people on their heads, arms, legs, and eyes. See

   Declarations of Plaintiffs, Attached to Motion for Temporary Restraining Order. Many of those

   injured have not yet received adequate medical treatment.

           23.     Plaintiffs/Petitioners and class members also did not have access to bathrooms

   during the trip because ICE officers and contract guards denied them access as punishment and

   because the toilet tanks became full of human waste and the bathrooms could not be used. Id.

           24.     ICE does not deny that Plaintiffs/Petitioners and the others on the plane were

   chained at their wrists, waists, and legs and forced to stay in their seats on the plane for the

   duration of the flight, including the 23 hours when the flight was on the ground at Dakar.

           25.     All of the people with removal orders who were on the December 7 plane were

   black and the vast majority was Muslim.

           26.     Plaintiffs/Petitioners and the class they represent ask this Court to issue an order

   preventing their removal to Somalia until 1) they are afforded a full and fair opportunity to seek

   reopening of their removal cases; 2) they have received adequate treatment for injuries sustained

   on the December 7 flight; and 3) Defendants/Respondents have taken adequate measures to

   ensure that they will not be abused on the next flight, including but not limited to the guarantee

   that none of the ICE and contract officers on the December 7 flight will be on any new flight.



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             27.   Plaintiffs/Respondents and the class further request that the Court issue an order

   1) forbidding Defendants/Respondents from transferring Plaintiffs/Respondents and the class out

   of Krome Service Processing Center in Miami, Florida or Glades Detention Center in Moore

   Haven, Florida; and 2) ordering Defendants/Respondents to return to Krome or Glades anyone

   who has already been transferred. Transferring Plaintiffs/Petitioners away from undersigned

   counsel will make it difficult, if not impossible, for undersigned counsel to represent them.

   Many, if not most, of Plaintiffs/Petitioners are unrepresented and undersigned counsel is their

   only hope of securing assistance.

                                  STATEMENT OF EMERGENCY

             28.   This case is an emergency because ICE has stated its intention to put Plaintiffs

   and class members on another contract flight to Somalia on Wednesday, December 20, 2017.

   ICE intends to take this action without giving Plaintiffs/Petitioners and the class the opportunity

   for process to determine if they are entitled to protection based on the changed circumstances

   created by the December 7 flight, without ensuring that they have been given adequate medical

   treatment for their injuries, and without assurances that they will not be harmed again during the

   flight.

                                                VENUE

             29.   Venue for the complaint for injunctive and declaratory relief and damages is

   proper under 28 U.S.C. § 1391(e), as Defendants/Respondents are officers or employees of the

   United States. Venue for the habeas action is proper under 28 U.S.C. §§ 2241 et seq., as

   Respondents exercise control over Plaintiffs/Petitioners’ custody.

                                           JURISDICTION

             30.   This case arises under the United States Constitution; the Immigration and



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   Nationality Act (INA), 8 U.S.C. §§ 1101 et seq.; the regulations implementing the INA’s asylum

   provisions; the Convention Against Torture and Other Cruel, Inhuman or Degrading Treatment

   or Punishment (CAT), Dec. 10, 1984, S. Treaty Doc. 100-20 (1988), 1465 U.N.T.S. 85; the

   Foreign Affairs Reform and Restructuring Act of 1998 (FARRA), 8 U.S.C. § 1231; and the

   Administrative Procedure Act (APA), 5 U.S.C. §§ et seq.

           31.    This Court has habeas corpus jurisdiction pursuant to 28 U.S.C. §§ 2241 et seq.,

   and Art. I § 9, cl. 2 of the United States Constitution (Suspension Clause). This Court may also

   exercise jurisdiction pursuant to 28 U.S.C. § 1331; 28 U.S.C. § 1361 (mandamus statute); 5

   U.S.C. §§ 701 et seq. (Administrative Procedures Act); Art. III of the United States Constitution;

   Amendment V to the United States Constitution; and the common law.

           32.    This Court may grant relief pursuant to the Declaratory Judgment Act, 28 U.S.C.

   §§ 2201 et seq., and the All Writs Act, 28 U.S.C. § 1651, and has the ability to enjoin federal

   officials pursuant to Ex Parte Young, 209 U.S. 123 (1908). See Philadelphia Co. v. Stimson, 223

   U.S. 605, 619-21 (1912) (applying Ex Parte Young to federal official); Goltra v. Weeks, 271 U.S.

   536, 545 (1926) (same). The Court also has jurisdiction to determine its own jurisdiction. United

   States v. United Mine Workers of Am., 330 U.S. 258, 290 (1947).

                                              PARTIES

                                               Plaintiffs

           33.    Plaintiff/Petitioner Farah Ali IBRAHIM was born in Somalia on December 15,

   1987.

           34.    Plaintiff/Petitioner Ibrahim is currently detained at Krome Processing Center in

   Miami, Florida.




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           35.     Plaintiff/Petitioner Ibrahim came to the United States approximately two years

   ago and has been seeking asylum, without the assistance of an attorney, while in ICE custody

   since his arrival.

           36.     Plaintiff/Petitioner Ibrahim was denied asylum on February 2, 2017 and the Board

   of Immigration Appeals dismissed his appeal June 22, 2017.

           37.     Plaintiff/Petitioner Ibrahim was on the December 7 flight. Defendants shackled

   him with chains on his wrists, waist and legs and forced him to stay seated for almost two days.

           38.     He suffered the following additional physical abuse aboard the plane when it was

   on the ground in Senegal:

           a) Plaintiff/Petitioner Ibrahim was dragged by the shirt collar along the floor of the plane

   by an ICE officer to another part of the plane.

           b) Another ICE officer kicked Plaintiff/Petitioner Ibrahim on the head and stepped on his

   hand.

           c) Two officers stepped on Plaintiff/Petitioner Ibrahim back.

           d) An officer pressed his thumb under Plaintiff/Petitioner Ibrahim’s ear near his jaw and,

   shoved his head into the floor, causing him to lose consciousness.

           39.     When Plaintiff/Petitioner Ibrahim regained consciousness after the assault, he

   found that agents had immobilized his body by wrapped him in fabric and applied cord restraints

   that prevented from sitting upright or standing.

           40.     Because of the physical assault at the hands of the agents, Plaintiff/Petitioner

   Ibrahim continues to suffer pain in his hand, back, and forehead.

           41.     Plaintiff Ibrahim MUSA was born on June 14, 1969 in Somalia.




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           42.     Plaintiff/Petitioner Musa is currently detained at Krome Processing Center in

   Miami, Florida.

           43.      Plaintiff/Petitioner Musa left Somalia at the age of 21 during the civil war.

           44.     Plaintiff/Petitioner Musa has been residing in the United States for twenty years

   and has four U.S. citizen children aged 19, 16, 12, and 9 and a wife who is a lawful permanent

   resident and eligible to naturalize to become a U.S. citizen.

           45.     Plaintiff/Petitioner Musa applied for asylum but did not have a lawyer for most of

   his case.

           46.     Plaintiff/Petitioner Musa was denied asylum in May 17, 2000, and the Board of

   Immigration Appeals dismissed his appeal on December 11, 2002.

           47.     Plaintiff/Petitioner Musa was detained by ICE agents when he complied with ICE

   instructions and appeared for his annual Order of Supervision ICE appointment.

           48.     While aboard the ICE plane, Plaintiff/Petitioner Musa’s handcuffs were attached

   to his waist and his legs were shackled together.

           49.     Because of the manner in which Plaintiff/Petitioner Musa was shackled and

   restrained, his shoulders ached and he could not move causing his leg to become was numb.

           50.     Because of the way Plaintiff/Petitioner Musa was physically abused on the plane,

   his body still hurts to this day.

           51.     Because of his twenty years in the United States, Plaintiff/Petitioner Musa now

   speaks with an American accent and he has become Westernized.

           52.     Plaintiff/Petitioner Musa fears returning to Somalia, a country he does not have

   any ties to, where his American and Western characteristics will be apparent to Al Shabaab. Al

   Shabaab targets Westerners, like Plaintiff/Petitioner Musa, who are viewed as traitors.



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             53.   Plaintiff/Petitioner Musa believes news of this aborted flight has reached the

   general Somali public. He believes that having been on the December 7 flight jeopardizes his

   safety upon his return, and he believes that al-Shabaab will kill him for being a Westernized

   Somali.

           54.     Plaintiff Khalid Abdallah MOHAMED was born on December 17, 1986 in

   Somalia. Mr. Mohamed is thirty-one.

           55.     Plaintiff/Petitioner Mohamed is currently in custody at Krome Processing Center

   in Miami, Florida.

           56.     Plaintiff/Petitioner Mohamed has been in ICE custody since he arrived in the

   United States and requested asylum on or about August 18, 2016.

           57.     Plaintiff/Petitioner Mohamed passed a credible fear interview at the U.S.-Mexico

   border after he presented himself to Immigration officials.

           58.     Plaintiff/Petitioner Mohamed was denied asylum on February 16, 2017. His

   appeal was dismissed July 13, 2017.

           59.     Plaintiff/Petitioner Mohamed was on the December 7 plane.

           60.     Defendants shackled Plaintiff/Petitioner Mohamed with chains on his wrists,

   waist and legs and forced him to stay seated for almost two days.

           61.     Plaintiff/Petitioner Mohamed witnessed a guard attack another Somali man on the

   plane. The guard wrapped the man in full body restraints to prevent him from moving for hours,

   to make an example of him.

           62.     ICE threatened Plaintiff/Petitioner Mohamed and others sitting near him.

           63.     ICE threatened to force Plaintiff/Petitioner Mohamed and others into the full body

   restraint if they did not stay seated.



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          64.     Plaintiff/Petitioner Mohamed fears returning to Somalia where he fears he will be

   killed by al-Shabaab.

          65.     Plaintiff Ismail JIMCALE ABDULLAH was born on March 10, 1989 in

   Somalia. He is 28 years old.

         66.      Plaintiff/Petitioner Jimcale Abdullah is currently detained at Krome Processing

   Center in Miami, Florida.

          67.     Plaintiff/Petitioner Jimcale Abdullah came to the United States with his wife.

   Plaintiff/Petitioner Jimcale Abdullah’s wife’s asylum claim is ongoing in Texas. She resides in

   Texas with their one-year-old U.S. citizen son.

          68.     Plaintiff/Petitioner Jimcale Abdullah fled al Shabaab in Somalia, a terrorist

   organization that killed his father and threatened his family.

          69.     Plaintiff/Petitioner Jimcale Abdullah was denied asylum while he was in ICE

   detention on June 20, 2017. He did not have a lawyer and did not file an appeal.

          70.      Plaintiff/Petitioner Jimcale Abdullah was on the December 7 plane.

          71.     Defendants/Respondents shackled him with chains on his wrists, waist and legs

   and forced him to stay seated for almost two days.

          72.     While on the plane, Plaintiff/Petitioner Jimcale Abdullah suffered a severe

   headache and his requests for medication were denied.

          73.     Plaintiff Plaintiff/Petitioner Jimcale Abdullah witnessed the following:

          a)      ICE officers forcibly pushed people onto the ground and plane seats.

          b)      ICE officers stomped on people.

          c)      ICE officers chained people to seats.

          d)      People were injured on the plane.



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           74.      Plaintiff Plaintiff/Petitioner Jimcale Abdullah heard ICE threaten to kill people if

   they did not sit.

           75.      Plaintiff Plaintiff/Petitioner Jimcale Abdullah only wants to be reunified with his

   wife and his U.S. citizen infant child.

           76.      Plaintiff Plaintiff/Petitioner Jimcale Abdullah fears al Shabaab will come after

   him for being on the flight and for living in the United States because al-Shabaab kills people

   perceived to support America.

           77.      Plaintiff Abdiwali Ahmed SIYAD was born on October 15, 1984 in Somalia. He

   is thirty-three years old.

           78.      Plaintiff/Petitioner Siyad is currently detained at Glades Detention Center in

   Moore Haven, Florida.

           79.      Plaintiff/Petitioner Siyad left Somalia in 1990 when he was a child.

           80.      While still in Somalia, at age 4, Plaintiff/Petitioner Siyad was struck by a bullet

   and lost an eye and was stabbed in the leg. Terrorist groups killed some of his brothers in

   Somalia.

           81.      Plaintiff/Petitioner Siyad has a U.S. citizen child and U.S. citizen siblings in the

   United States.

           82.      Plaintiff/Petitioner Siyad has never had the help of a lawyer in his immigration

   case. On December 13, 2012, Mr. Siyad lost his immigration case. He did not file an appeal.

           83.      Plaintiff/Petitioner Siyad was present on the December 7 flight.

           84.      Defendants/Respondents shackled him with chains on his wrists, waist and legs

       and forced him to stay seated for almost two days.

           85.      A guard on the plane struck Plaintiff/Petitioner Siyad in the face.



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          86.      A guard on the plane shoved Plaintiff/Petitioner Siyad into his seat twice.

          87.      Guards on the plane prohibited him from praying.

          88.      Plaintiff/Petitioner Siyad vomited on the plane.

          89.      Plaintiff/Petitioner Siyad suffers from depression and takes medication for

          treatment.

          90.      ICE refused Plaintiff/Petitioner Siyad requests for his antidepressant medication

   on the plane.

          91.      Plaintiff/Petitioner Siyad witnessed the following on the plane:

          a)       Plaintiff/Petitioner Siyad witnessed ICE guards push and punch a Somali man.

          b)       Plaintiff/Petitioner Siyad saw a guard on the plane roll Somali men in restraints

   “like burritos” to entirely prevent them from moving.

          92.      Plaintiff/Petitioner Siyad heard the following:

          a)       He heard people screaming and asking ICE to get off their shackles.

          b)       ICE threatened him and told him to stay seated or he would be responsible for

   what will happen to him.

          93.      Plaintiff/Petitioner Siyad fears that his government can’t protect him.

          94.      Al-Shabaab has taken Plaintiff/Petitioner Siyad’s family’s property and homes in

   Somalia. He no longer has ties in Somalia.

          95.      Plaintiff Ismael Abdirashed MOHAMED was born on January 3, 1992 in

   Somalia. He is twenty-five.

          96.      Plaintiff/Petitioner Abdirashed Mohamed is currently detained at Glades County

   Detention Center in immigration custody.




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          97.     Plaintiff/Petitioner Abdirashed Mohamed fled Somalia in 2000 when he was eight

   years old. His father and girlfriend are U.S. citizens and reside in Sioux City, Iowa.

          98.    Plaintiff/Petitioner Abdirashed Mohamed pursued his immigration case by himself

   because he could not afford a lawyer. He lost his case on June 8, 2017. He did not file an appeal.

          99.    Plaintiff/Petitioner Abdirashed Mohamed was on the December 7 plane.

          100. Defendants/Respondents shackled him with chains on his wrists, waist and legs and

   forced him to stay seated for almost two days.

          101. On the plane, Plaintiff/Petitioner Abdirashed Mohamed asked to use the restroom

   and ICE stepped on his ankle shackles and poked him in the eye.

          102.   Plaintiff/Petitioner Abdirashed Mohamed’s eye is still damaged and his vision is

   extremely blurry.

          103.   The eye drops he received at Glades County Detention Center have not helped.

          104. Plaintiff/Petitioner Abdirashed Mohamed fears he will never be able to see out of

   his eye normally again.

          105.    Plaintiff/Petitioner Abdirashed Mohamed witnessed ICE slam two Somali men

   with their bodies.

          106.   Plaintiff/Petitioner Abdirashed Mohamed witnessed ICE punch a man and throw

   him on the floor.

          107. Plaintiff/Petitioner Abdirashed Mohamed witnessed ICE wrap others in blanket

   restraints to prevent movement.

          108. Plaintiff/Petitioner Abdirashed Mohamed witnessed that ICE prohibited regular

   bathroom use on the plane.




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             109.   Plaintiff/Petitioner Abdirashed Mohamed held his urine for several hours out of

   fear of being assaulted.

             110. When Plaintiff/Petitioner Abdirashed Mohamed was able to relieve himself, he

   experienced pain in his bladder that continues to hurt today.

             111.   Plaintiff/Petitioner Abdirashed Mohamed fears returning to Somalia.

             112.   Plaintiff Khadar Abdi IBRAHIM was born in Somalia on March 10, 1987. He is

   thirty years old. His U.S. citizen sister lives in Minneapolis, Minnesota, along with other

   members of his family.

             113.   Plaintiff/Petitioner Ibrahim is currently detained at Glades County Detention

   Center.

             114.   Plaintiff/Petitioner Ibrahim lost his immigration case on July 28, 2008 in Texas.

   He did not have a lawyer to help him with his case. He did not file an appeal.

             115.    Plaintiff/Petitioner Ibrahim left Somalia in 1989 because of the civil war. His

   father was murdered and his aunt was raped.

             116.   Plaintiff/Petitioner Ibrahim was on the December 7 plane. Defendants shackled

   him with chains on his wrists, waist and legs and forced him to stay seated for almost two days.

             117.   On the plane, Plaintiff/Petitioner Ibrahim stood up to use the bathroom and an ICE

   officer picked him up by his waist and slammed him down head-first with his legs in the air. His

   neck still hurts today.

             118.   Plaintiff/Petitioner Ibrahim witnessed ICE choke and punch two other men.

             119.   Plaintiff/Petitioner Ibrahim saw another man bleeding from his lips after ICE had

   choked him.




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           120.   Plaintiff/Petitioner Ibrahim witnessed ICE wrap a man in an immobilizing

   restraint.

           121.   Plaintiff/Petitioner Ibrahim heard ICE threaten to wrap others in restraints.

           122. Plaintiff/Petitioner Ibrahim has many tattoos and fears he will be murdered in

   Somalia by Al Shabaab because he is Westernized in appearance.

                                               Defendants

           123.   Defendant/Respondent Juan Acosta is Assistant Field Office Director of ICE’s

   Miami Field Office and is sued in his official capacity. Mr. Acosta has responsibility for and

   authority over the detention centers where Plaintiffs/Petitioners are detained. He is an immediate

   custodian of Plaintiffs/Petitioners.

           124.   Defendant/Respondent David Hardin is the Sheriff of Glades County, one of the

   detention centers where Plaintiffs/Petitioners are being held in immigration detention. He is an

   immediate custodian of Plaintiffs/Petitioners.

           125.    Defendant/Respondent Marc J. Moore is the Director of ICE’s Miami Field

   Office and is sued in his official capacity. The Miami Field Office Director has responsibility for

   and authority over the detention and removal of noncitizens in Florida, and is their immediate

   custodian for purposes of habeas corpus. Respondent/Defendant Moore has the power or ability

   to produce Plaintiff/Petitioners detained in Florida if directed to do so by this Court.

           126.   Defendant/Respondent Thomas Homan is the Acting Director of ICE and is sued

   in his official capacity. The Acting Director of ICE has responsibility for and authority over the

   detention and removal of noncitizens throughout the United States. Mr. Horman also qualifies as

   the appropriate habeas respondent for all Petitioners and class members to the extent that

   Petitioners have been transferred out of Florida. Defendant/Respondent Homan has the power or



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   ability to produce petitioners located anywhere in the United States if directed to do so by this

   Court, and this Court has personal jurisdiction over him. See Straight v. Laird, 406 U.S. 341, 345

   n.2 (1972).

           127.   Defendant/Respondent Kirstjen Nielsen is the Secretary of Homeland Security

   and is sued in her official capacity. Mr. Homan reports to Secretary Nielsen, who therefore has

   supervisory responsibility for and authority over the detention and removal of noncitizens

   throughout the United States.

                                     STATEMENT OF FACTS

           128.   Petitioners and class members are 92 individuals ordered removed to Somalia who

   ICE detained and attempted to fly to that country on a plane that left Louisiana on December 7,

   2017.

           129.   The flight never reached its destination, and was forced to return to the United

   States over 48 hours later, on December 9.

           130.   For more than two days, ICE agents subjected Petitioners to inhumane conditions

   and mistreatments including acts of serious physical violence that resulted in still untreated

   injuries.

           131.    ICE’s egregious misconduct before and during the flight has generated

   extraordinary attention in the international media, and the attention has only become more

   intense because ICE continues to cover up the truth by releasing a statement about the flight that

   contains false statements.

           132.   The level of media interest ICE has brought upon Plaintiffs/Petitioners while

   debasing them on this flight is without precedent, and the story has been followed closely within

   Somalia.



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          133.     Because of the attention ICE has brought upon Plaintiffs/Petitioners inside

   Somalia, together with very recent escalations of Al Shabaab violence, Plaintiffs/Petitioners, and

   the class they represent, now face a unique and elevated risk of being persecuted, tortured or

   killed in Somalia, including by the fundamentalist group Al Shabaab.

          134.    These new circumstances wrought by the December 7 flight and the recent

   escalation in Al Shabaab violence constitute critical changed facts, entitling Plaintiffs/Petitioners

   to additional process to challenge their removal orders.

                      BACKGROUND ON CONDITIONS IN SOMALIA

          135.   Somalia’s civil war in the early 1990s destroyed the country and left it without any

   functioning government for two decades.

          136.    Somalia’s recent effort to rebuild a central government is fragile at best. The U.S.

   Departments of Homeland Security and State conducted their own “thorough review of

   conditions in Somalia” and concluded in 2017 that the country “continues to experience an

   ongoing armed conflict[,]” in which “Al-Shabaab controls large swaths of territory in southern

   Somalia and conducts frequent asymmetric attacks on military and civilian targets in

   government-controlled areas.”

          137. The United States is taking an active part in the war against Al Shabaab inside

   Somalia. In 2014, a U.S. drone strike killed Al Shabaab leader Ahmed Abdi Godane, and this

   caused the group to redirect its efforts towards terrorist attacks upon civilian targets, especially

   those it perceives as Western or American.

          138.    During the same period of months when ICE targeted Petitioners for detention and

   removal conditions deteriorated in Somalia. Al Shabaab’s attack on Western targets inside

   Somalia continued during 2017, and then came the historic bomb blast in Mogadishu of October



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   14, 2017, which killed over 500 people. See Harper Decl. at 23, Attached to Motion for

   Tempoary Restraining Order. In turn, the U.S. military has now undertaken a campaign of

   bombings against Al Shabaab. NYT. This development portends further escalations by Al

   Shabaab against persons perceived to be American or Westernized.

                               U.S. DEPORTATIONS TO SOMALIA

           139. Against this backdrop, and until recently, only a tiny number of the approximately

   4800 Somali nationals with outstanding orders of removal who live in the United States were

   ever actually removed to Somalia. See Harper Declaration, Attached to Motion for Tempoary

   Restraining Order.

           140. During the years Somalia had no government ICE removed only a handful of

   individuals. ICE placed almost all Somalis who were legally subject to removal under Orders of

   Supervision (OSUPs) that provided them authorization to work and required only periodic

   check-ins with ICE, often just one time per year or every six months.

           141.   Even after a new Somali government took shape, removals remained extremely

   rare. For example, in fiscal years 2012 and 2013 there were only 31 removals to Somalia in each

   year.

           142. When ICE did enforce a removal order, its agents would escort the Somali national

   on a commercial flight, without shackles. The rest of the thousands of Somalis with OSUPs

   continued to live otherwise normal lives in the United States with their families.

           143.   It was not until the very end of 2016 and into 2017 that ICE sought for the first

   time to detain and then remove Somalis in larger numbers using charter flights.




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             144.   ICE deported 198 Somalis in 2016 and that figure more than doubled to 521 in

   2017, even as the overall rate of all ICE removals for all nationalities declined during the same

   period.

             145.   Plaintiffs/Petitioners, many who lived for years with orders of supervision, have

   been caught up in ICE’s sudden move to dramatically increase removals to Somalia.

                                          THE DECEMBER 7 FLIGHT

             146.   Just on the heels of deteriorating conditions in Somalia, ICE opted to move

   forward and remove Plaintiffs/Petitioners and the class they represent.

             147.   ICE transferred Plaintiffs/Petitioners to its detention facilities in Louisiana, where

   many were isolated from family and counsel.

             148.   In the very early morning of December 7, 2017, around 1:00-3:00 am, ICE

   officers woke up the 92 Somali men and women and shackled them.

             149.   ICE chained their wrists and waists in metal cuffs and tethered their wrists to their

   waists. ICE separately bound their legs.

             150.   ICE chained people hours before they boarded the flight.

             151.   When it was time for the flight to depart, ICE tightened the shackles of the men

   and women and marched them to the plane. ICE put some people in restraint masks.

             152.   ICE’s use of shackles and other forms of force is governed by the 2011

   Performance-Based National Detention Standards, revised in 2016. It provides as follows:

             a.     Detainees subjected to use of force receive medical attention “as soon as

                    possible.”

             b.     Approval from a Facility Administrator is required for ongoing use of restraints.




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             c.     Restraints must be removed when a detainee is no longer a danger to himself or

                    others.

             d.     Medical or mental health staff must be consulted before force is applied to a

                    detainee with “physical, intellectual, and developmental disabilities, and detainees

                    with a mental health condition that may impair their ability to understand the

                    situation.”

             e.     Medical staff must review the medical file for a detainee prior to use of force.

             f.     Shift supervisor must check the physical status of a detainee in restraints every

                    two hours.

             g.     Restraints worn properly will not restrict blood circulation or breathing.

        153.        The following conduct is prohibited by the ICE 2011 PBNDS:

             a.     Use of restraints as a tool to lift or carry detainees.

             b.     The use of restraints to cause “physical pain or extreme discomfort.”

             c.     Restraints that are “unnecessarily tight.”

             d.     Use of choke holds.

             e.     Use of neck restraints or carotid holds.

             154.   ICE officers and contract guards violated these standards regarding the use of

                    shackles and other forms of force on the December 7 flight.

             155.   Numerous ICE and contract guards, as many as 20 or 30, were on the December 7

                    flight.

             156.   The women and men were shackled on the plane and were instructed to remain

   seated.




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          157.     The plane flew to Dakar, Senegal and landed for refueling. ICE claimed that

   while the plane was on the ground there was a mechanical problem.

          158.     ICE told the men and women that the plane needed to be fixed and that they

   would have to wait 15 hours for a part to be flown in from the United States.

          159.     For the next 23 hours, the plane remained grounded at Dakar airport.

          160.     During this entire time, without a break, Plaintiffs and the class remained

   shackled at their wrists, waist, and legs.

          161.     The guards did not loosen the shackles, even when the deportees told them that

   the shackles were painful because they were too tight, that their arms and legs were swollen and

   were bruised.

          162.     The guards did not permit the men and women to get off of the plane, to stand up,

   or to stretch and walk around. The guards ordered the men and women to stay in their seats and

   used force to push people down who stood up, even if they stood up to ask a question or to try

   and use the bathroom.

          163.     The guards started to physically abuse people using extreme force. Guards

   punched and kicked people, choked them, stepped on their shackles, and threw them on the floor,

   drawing blood and causing injury. People were placed in straight jackets and turned upside

   down. ICE and the contract guards abused people to intimidate others on the plane.

          164.     Plaintiffs/Petitioners and class members have injuries that have not healed and

   that have not been given adequate medical treatment.

          165.     In addition to the physical abuse, guards yelled at the people on the plane,

   berating them for being deportees, calling them criminals, and threatening to kill them.




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           166.   ICE officers and contract guards denied people their medications, including

   people with diabetes and the HIV virus.

           167.   ICE and the contract guards deprived people of the bathroom. Some people were

   prevented from using the bathroom as a form of punishment.

           168.   During the trip, the bathroom toilets became full of human waste and could not be

   used.

           169.   Deportees were forced to try and urinate in water bottles and on themselves.

           170.   After 23 hours in Dakar, the flight returned to the United States. The plane was

   not able to proceed to its next scheduled stop, Djibouti.

           171.   The plane landed in Miami, Florida on or about Saturday, December 9, 2017.

           172.   In total, the trip lasted about 48 hours. Plaintiffs/Petitioners and class members

   were shackled the entire time, in addition to the time they spent shackled prior to being

   transported to the plane.

           173.   Plaintiffs/Petitioners and the class members they represent were all detained in

   Florida upon arrival. All of Plaintiffs/Petitioners and most of the class members are currently

   detained in Florida at Krome Service Processing Center and Glades County Detention Center.

                  INCREASED DANGER DUE TO THE DECEMBER 7 FLIGHT

           174.   ICE’s ill-conceived and inhumane attempt to fly Plaintiffs/Petitioners into a war

   zone failed.

           175.   The horrific details of how ICE treated them on the December 7 plane reached

   Somalia on a wave of international media coverage about the incident, including The New York

   Times, Newsweek and multiple Somali news sources. See Somali News Articles, Attached to

   Motion for Temporary Restraining Order.



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          176.    This media has driven intense public attention to the Plaintiffs/Petitioners and

   their connections to the United States inside Somalia.

          177.    This media, together with very recent escalations in anti-Western terrorist

   violence, constitute unique, changed circumstance because it puts Plaintiffs/Petitioners and the

   class in danger of being targeted by the anti-American, anti-Western terrorist organization, Al

   Shebaab.

          178.    Al Shabaab targets people who are returning to Somalia after having been in the

   United States as enemies of their cause who must be summarily executed. See Hunter Decl.,

   Attached to Motion for Temporary Restraining Order. The United States has recognized that Al

   Shabaab’s violent attacks on people it deems enemies have caused what the United States has

   declared to be “one of the worst humanitarian crises in the world.” 82 FR 4907 (renewing

   Temporary Protected Status to certain Somalis in the United States based on the severe level of

   danger).

          179.    Further compounding the danger facing the Plaintiffs/Petitioners is the fact that

   the December 7 flight occurred just weeks after Al Shabaab’s carried out a massive bomb attack

   in Mogadishu on October 14, 2017, killing over 500 people. The gravity and importance of this

   bombing this attack is reflected in how it is referred to as “Somalia’s 9/11.”

          180.    The October 14th attack prompted the United States to launch bombing raids

   against Al Shabaab inside Somalia in November of this year.

          181.    The severe and very recent escalation of Al Shabaab’s terrorist violence, coupled

   with the U.S. military’s retaliation, are additional new circumstances that add to the risk facing

   Plaintiffs/Petitioners triggered by the aborted and abusive December 7 flight.




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              182.   Plaintiffs/Petitioners face imminent removal to Somalia, where they will likely be

   killed or harmed due to changed circumstances in Somalia created by the media coverage and

   notoriety of the aborted and abusive December 7 flight, together with the very recent escalation

   of Al Shabaab anti-Western violence.

                                         LEGAL FRAMEWORK

              183.   Consistent with U.S. obligations under the Refugee Act and the Convention

   Against Torture (CAT), the Immigration and Nationality Act prohibits the United States from

   removing a noncitizen to a country where he or she is more likely than not to face persecution or

   torture.

              184.   The statute contains a mandatory prohibition on removing noncitizens to a

   country where their life or freedom would be threatened on the grounds of race, religion,

   nationality, membership in a particular social group or political opinion. 8 U.S.C. § 1231(b)(3).

   Apart from certain limited exceptions, any individual who can demonstrate that it is more likely

   than not that he or she will be persecuted on one of the five protected grounds, is entitled to this

   statutorily mandated protection. See INS v. Stevic, 467 U.S. 407 (1984) (holding that alien is

   entitled to relief from deportation if he is more likely than not to face persecution on one of the

   specified grounds following his deportation).

              185.   The other prohibition on removal tracks the Convention Against Torture’s

   prohibition on removal of noncitizens to countries where they would face torture. See 8 C.F.R.

   §§ 208.16-18 (implementing the Convention Against Torture’s provisions with regard to

   withholding of removal); Foreign Affairs Reform and Restructuring Act (FARRA), Pub. L. No.

   105-277, Div. G., Title XXII, § 2242, 112 Stat. 2681-822 (Oct. 21, 1998) (codified as Note to 8

   U.S.C. § 1231); U.N. Convention Against Torture and Other Forms of Cruel, Inhuman or



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   Degrading Treatment or Punishment, art. 1, para. 1, opened for signature Dec. 10, 1984, S.

   Treaty Doc. No. 100-20 (1998), 1465 U.N.T.S. 85.

          186.    Under the CAT, an individual may not be removed if “it is more likely than not

   that [the individual] would be tortured if removed to the proposed country of removal.” 8 C.F.R.

   § 208.16(c)(2). The regulations provide for both withholding of removal under CAT and

   “deferral of removal.” Withholding of removal is subject to the same exceptions as apply to 8

   U.S.C. § 1231(b)(3), deferral of removal contains no exceptions for people with “particularly

   serious crimes.” Compare 8 C.F.R. § 208.16(d)(3) with 8 C.F.R. § 208.17.

          187.    Plaintiffs/Petitioners may also be eligible for asylum. See 8 U.S.C. § 1158.

   Asylum is a discretionary form of relief from persecution that is available to noncitizens who can

   demonstrate that they have a “well-founded fear of persecution on account of race, religion,

   nationality, membership in a particular social group, or political opinion.” 8 U.S.C. §

   1101(a)(42). To prevail on an asylum claim, an applicant need only show that there is a ten

   percent chance that he or she will be persecuted on account of an enumerated ground. See INS v.

   Cardoza-Fonseca, 480 U.S. 421, 439-40 (1987).

          188.    Noncitizens who have been ordered removed have the statutory right to file

   motions to reopen their cases, which are governed by certain time and numerical requirements.

   See 8 U.S.C. § 1229a(c)(7). But the statute recognizes the unique nature of applications for

   protection from persecution and torture. If the noncitizen is seeking asylum, withholding, or

   protection under CAT based “on changed country conditions arising in the … country to which

   removal has been ordered,” the statute permits the noncitizen to file a motion to reopen at any

   time. 8 U.S.C. § 1229a(c)(7)(C)(ii); see also 8 C.F.R. § 1003.2(c)(3)(ii).




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          189.    The exception to the numerical and time limits provides a critical “safety valve”

   for bona fide refugees who would otherwise be deported from the United States in violation of

   U.S. international treaty obligations of non-refoulement. See Salim v. Lynch, 831 F.3d 1133,

   1137 (9th Cir. 2016) (“Judicial review of a motion to reopen serves as a ‘safety valve’ in the

   asylum process …. Such oversight ‘ensure[s] that the BIA lives by its rules and at least considers

   new information’ bearing on applicants’ need for and right to relief.” (citing Pilica v. Ashcroft,

   388 F.3d 941, 948 (6th Cir. 2004)).

          190.    In addition, the Due Process Clause and the INA grant Plaintiffs/Petitioners the

   right to counsel to challenge their removal, and to a fair hearing proceeding before they are

   removed from the country. 8 U.S.C. § 1362; Leslie v. Attorney General, 611 F.3d 171, 181 (3d

   Cir. 2010) (holding that the Fifth Amendment and immigration statute affords a noncitizen right

   to counsel of her own choice); Amadou v. INS, 226 F.3d 724, 726-27 (6th Cir. 2000) (noting that

   noncitizens have “due process right to a full and fair hearing”).

          191.    Both ICE’s due process obligations and the INA abridge the government’s

   discretion to transfer detainees, if the transfer interferes with the detainees’ access to counsel. See

   Orantes-Hernandez v. Thornburgh, 919 F.2d 549, 565-66 (9th Cir. 1990) (affirming injunction

   enjoining INS from transferring detainees in manner that inferred with existing attorney-client

   relationships). Such transfers are unlawful when they interfere with detainees’ constitutional,

   statutory and regulatory rights seek relief from persecution and obtain counsel of their choosing.

   See Louis v. Meissner, 530 F. Supp. 924, 927 (S.D. Fla. 1981) (finding INS had thwarted

   detainees’ statutory and regulatory rights to representation in exclusion proceedings by

   transferring them to remote areas lacking counsel and interpreters).




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          192.    Plaintiffs/Petitioners, on their behalf and on behalf of the class they seek to

   represent, request: 1) a temporary restraining order that prohibits Defendants from deporting

   Plaintiffs and the class they represent; and 2) a permanent injunction against Defendants

   prohibiting them from deporting Plaintiffs/Petitioners and the class they represent until: a) they

   are afforded a full and fair opportunity to seeking reopening of their removal cases; b) they have

   received adequate treatment for their injuries sustained on the December 7 flight; and c)

   Defendants/Respondents have taken precautions to ensure that Plaintiffs and the class they

   represent will not be again abused during the deportation process, including but not limited to

   assurances that none of the same ICE or contract agents that were on the December 7 flight will

   be on the next flight.

                                 CLASS ACTION ALLEGATIONS

          193.    Plaintiffs/Petitioners seek class-wide injunctive relief pursuant to Fed. R. Civ. P.

   23(b)(2) and 23(b)(3).

          194.    Plantiffs/Petitioners seek to certify the class: All persons with final orders of

   removal and currently facing removal to Somalia who are located within the jurisdiction of the

   Miami ICE Field Office (“Class Members”), including all persons whom ICE sought to deport to

   Somalia on the December 7, 2017 contract flight (“Subclass Members”).

          195.    The class meets the numerosity requirement of Rule 23(a)(1), as there were 92

   individuals on the December 7 flight and other individuals who face removal to Somalia on the

   next flight in the Miami Field Office jurisdiction.

          196.    The class meets the commonality requirement of Rule 23(a)(2). Questions of law

   and fact presented by Plaintiffs/Petitioners’ cases are common to other members of the class. The

   common contentions that unite the claims of the class are that each member has a final order of



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   removal, ICE is seeking to deport each class member to Somalia, and each class member has the

   same basis for a motion to reopen their removal order based on changed circumstances arising

   from the December 7 flight.

          197.    Plaintiffs/Petitioners’ claims are typical of those of the class because they all have

   final orders of removal are eligible to file motions to reopen their removal orders based on

   changed circumstances due to the December 7 flight.

          198.    Plaintiffs/Petitioners will fairly and adequately protect the interests of the class

   because they, like all class members, have final orders of removal and face removal to Somalia.

          199.    Class counsel has experience in immigration-related class action cases and will

   adequately represent the interests of the class.

          200.    The proposed class satisfies the requirements of Rule 23(b)(2) for the injunctive

   relief sought, as Defendants/Respondents have acted on grounds generally applicable to the

   class, making equitable relief appropriate as to the class as a whole.

          201.    Individual suits by each member of the class would be impracticable because they

   would create a risk of inconsistent or varying adjudications and would establish incompatible

   standards of conduct for the parties opposing the class. In addition, the class members are all

   detained and indigent and lack the financial resources to vindicate their rights in Court.

                                         CAUSES OF ACTION

                                           COUNT I:
                   Prohibition On Removal To Country Where Individual Would
                                   Face Persecution Or Torture

          202.    Plaintiffs/Petitioners reallege the foregoing paragraphs as if set forth fully herein.

          203.    Pursuant to the INA, and to ensure compliance with international treaties for

   which it is a signatory, the U.S. government is prohibited from removing noncitizens to countries



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   where they are more likely than not to face persecution or torture.

          204.    The prohibition on removal is mandatory for anyone who satisfies the eligibility

   criteria set forth in the statute and regulations. In addition, where country conditions change after

   an individual has been ordered removed, the INA specifically provides for motions to reopen a

   removal order to review a claim for protection in light of new facts.

          205.    Plaintiffs/petitioners, who are facing removal to Somalia based on old removal

   orders, face persecution and/or torture if removed to that country in light of changed

   circumstances since their cases were last considered. These changes circumstances are both the

   risk generated by the abusive and aborted December 7 flight and the recent escalation in anti-

   Western Al Sabaab violence.

          206.    Defendants/Respondents have a mandatory duty under the INA and under the

   international treaties to which the U.S. is a signatory to determine for each Plaintiff/Petitioner

   and members of the class whether the individual will face persecution, torture, or death if

   deported to Somalia.

                                               COUNT II

       Prohibition On Removal To Country Where Individual Would Face Persecution Or
                   Torture Without Due Process Guaranteed By Constitution

          207.    Plaintiffs/Petitioners reallege the foregoing paragraphs as if set forth fully herein.

          208.    As persons who are protected by the Due Process Clause, Petitioners have a right

   to a fair proceeding before they are removed from the country.

          209.    Because the danger to Plaintiff/Petitioners in Somalia is based on changed

   country circumstances, they have not received their core procedural entitlement. They have not

   had an opportunity to have their claims heard at a meaningful time and in a meaningful manner

   because their removal orders are based on conditions as they existed before the December 7

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   flight. Removing the Plaintiff/Petitioners without giving them this opportunity violates the Fifth

   Amendment’s Due Process Clause.

          210.     Defendants/Respondents have a mandatory duty under the Due Process Clause to

   determine for each Plaintiff/Petitioner and members of the class whether the individual will face

   persecution, torture, or death if deported to Somalia.

                                           COUNT III
               Prohibition On Transfer Of Immigration Detainees Away From Counsel

          211.     Plaintiffs/Petitioners reallege the foregoing paragraphs as if set forth fully herein.

          212.     In addition to their Due Process Clause rights, pursuant to statute,

   Plaintiffs/Petitioners have a right to counsel, at no expense to the government, to challenge their

   removal from the United States. 8 U.S.C. § 1362. Any ICE decision to transfer

   Plaintiffs/Petitioners away from undersigned counsel violates their statutory right to counsel and

   their due process right to fair hearing.

                                          ATTORNEYS’ FEES

         213.      Plaintiffs/Petitioners and other members of the proposed class are entitled to

   reasonable attorneys’ fees and costs pursuant to 42 U.S.C. § 1988(b).

                                         RELIEF REQUESTED

          WHEREFORE, Plaintiffs/Petitioners respectfully request that this Court enter judgment

   in their favor and:

          a.       Enjoin Defendants/Respondents from deporting Plaintiffs/Petitioners and the class

   members they represent until 1) they are afforded a full and fair opportunity to seek reopening of

   their removal cases; 2) they have received adequate medical treatment for their injuries sustained

   on the December 7 flight; and 3) Defendants/Respondents have taken precautions to ensure that

   Plaintiffs and the class they represent will not be again abused during the deportation process,

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   including but not limited to assurances that none of the same ICE or contract agents that were on

   the December 7 flight will be on the next flight.

          b.      Enjoin Defendants/Respondents from transferring Plaintiffs/Petitioners and the

   class members they represent from Krome Service Processing Center, Miami, Florida or Glades

   Detention Center, Moore Haven, Florida.

          c.      Order Defendants/Respondents to return any class members to South Florida who

   have been transferred to a different location.

          f.      Grant any other equitable relief this Court may deem just and proper.

   Respectfully submitted,

   By: /s/ Rebecca Sharpless
   Rebecca Sharpless                                   Benjamin Casper Sanchez*
   Florida Bar No. 0131024                             James H. Binger Center for New
   Immigration Clinic                                  Americans
   University of Miami School of Law                   University of Minnesota Law School
   1311 Miller Drive Suite E-273                       190 Mondale Hall
   Coral Gables, Florida 33146                         229 19th Avenue South
   Tel: (305) 284-3576, direct                         Minneapolis, MN 55455
   Tel: (305) 284-6092, clinic                         (612) 625-6484
   rsharpless@law.miami.edu                            caspe010@umn.edu

   Lisa Lehner                                         *Motion to Appear Pro Hac Vice
   Florida Bar No. 382191                              Forthcoming
   Andrea Crumrine
   Americans for Immigrant Justice                     Andrea Montavon-McKillip
   3000 Biscayne Blvd., Suite 400                      Fla. Bar No. 56401
   Miami, FL 33137                                     Legal Aid Service of Broward County,
   Phone: (305) 573-1106                               Inc.
   llehner@aijustice.org                               491 N. State Rd. 7
   acrumrine@aijustice.org                             Plantation, FL 33317
                                                       (954) 736-2493
                                                       (954) 736-2484 (fax)
                                                       amontavon@legalaid.org


   Law students Mary Georgevich, Alexis Dutt, and Timothy Sanders from the University
   of Minnesota Law School contributed to this pleading.



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